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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
                                           )
RUMEYSA OZTURK,                            )
                                           )
                  Petitioner               )
                                           )
            v.                             )
                                           ) Case No. 25-cv-10695-DJC
                                           )
PATRICIA HYDE, et al.,                     )
                                           )
                  Respondents.             )
__________________________________________)

                                            ORDER

CASPER, J.                                                                        March 28, 2025

       The Court notes that Petitioner Rumeysa Ozturk (“Ozturk”) filed an Amended Petition

and Complaint today, D. 12. Given the parties’ apparent dispute regarding this Court’s

jurisdiction over the matter, D. 12 ¶¶ 6-7 (asserting that this Court has subject matter

jurisdiction); D. 9 at 1 n.1 (suggesting grounds for a dispute regarding same), and given that

a federal court retains jurisdiction to maintain the status quo while it determines its subject

matter jurisdiction, Brownback v. King, 592 U.S. 209, 218-19 (2021) (quoting United States v.

Ruiz, 536 U.S. 622, 628 (2002)); United States v. United Mine Workers of Am., 330 U.S. 258,

293 (1947) (concluding that the district court “had the power to preserve existing conditions while

it was determining its own authority to grant injunctive relief”); see, e.g., Belbacha v. Bush, 520

F.3d 452, 456 (D.C. Cir. 2008) (invoking the All Writs Act, 28 U.S.C. § 1651, and noting that if a

case presents a “substantial jurisdictional question . . . a district court may act to preserve its

jurisdiction while it determines whether it has jurisdiction”), the Court ORDERS as follows:




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1. To allow the Court’s resolution of its jurisdiction to decide the Petition, Ozturk shall not

   be removed from the United States until further Order of this Court. See Mahmoud

   Khalil v. Joyce, No. 25-cv-01935-JMF at ECF No. 9, 2025 WL 750599 (S.D.N.Y.

   Mar. 10, 2025) (ruling that “[t]o preserve the Court’s jurisdiction pending a ruling

   on the petition, Petitioner shall not be removed from the United States unless and

   until the Court orders otherwise”); and

2. The Respondents have until 5:00 p.m. on Tuesday, April 1, 2025, to respond to the

   Amended Petition and Complaint, D. 12.


   So Ordered.

                                                         /s Denise J. Casper
                                                         United States District Judge




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